      Case 7:15-cv-00465 Document 1 Filed in TXSD on 11/06/15 Page 1 of 7



                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 McALLEN DIVISION

PHARR SAN JUAN ALAMO,             §
INDEPENDENT SCHOOL                §
DISTRICT,                         §
                                  §
       Plaintiff,                 §
                                  §
VS.                               §                   Civil Case No. 15-CV-00465
                                  §
TEXAS DESCON, L.P., DESCON 4S,    §
L.L.C., ERO INTERNATIONAL, L.L.P. §
D/B/A ERO ARCHITECTS, FRANK LAM §
& ASSOCIATES, INC., AND GREAT     §
NORTHERN INSURANCE COMPANY        §
                                  §
       Defendants.                §

             DEFENDANT GREAT NORTHERN INSURANCE COMPANY’S
                          NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       Defendant Great Northern Insurance Company (“Great Northern”) respectfully petitions this

Court for removal of the above-entitled action to the United States District Court for the Southern

District of Texas, from the 389th Judicial District Court of Hidalgo County, Texas, and for its Notice

of Removal states:

                                  REMOVAL JURISDICTION

       1.      This action, entitled Pharr San Juan Alamo Independent School District. v. Texas

Descon, L.P., Descon 4S, L.L.C., ERO International, L.L.P. d/b/a ERO Architects, Frank Lam &

Associates, Inc., and Great Northern Insurance Company, pending in the 389th Judicial District




DEFENDANT GREAT NORTHERN INSURANCE COMPANY’S NOTICE OF REMOVAL                                Page 1
        Case 7:15-cv-00465 Document 1 Filed in TXSD on 11/06/15 Page 2 of 7



Court of Hidalgo County, Texas, Cause No. C-5149-14-H , was commenced against Great Northern

Insurance Company via the filing of Plaintiff’s Third Amended Original Petition on October 13,

2015.

        2.     Great Northern agreed to accept service of the citation and Third Amended Original

Petition via service on its attorney of record, Jennifer G. Martin, on October 13, 2015. Accordingly

this notice of removal is timely filed pursuant to 28 U.S.C. § 1446(b).

        3.     Plaintiff sues Defendants Texas Descon, L.P., Descon 4S, L.L.C., ERO International,

L.L.P. d/b/a ERO Architects, and Frank Lam & Associates, L.P. (collectively referred to as the

“Construction Defendants”), asserting causes of action for breach of contract, negligence, negligent

misrepresentation, and gross negligence, arising out of work performed by the Construction

Defendants in connection with a demolition, remodeling and construction project undertaken by the

Construction Defendants. See Plaintiff’s Third Amended Original Petition at 2-8.

        4.     Plaintiff alleges causes of action against Great Northern for negligence, negligent

misrepresentation, violations of the Texas Insurance Code, and breach of the duty of good faith and

fair dealing arising out of Great Northern’s handling of a claim made by Plaintiff arising out of

damage occurring during the demolition project undertaken by the Construction Defendants. See

Plaintiff’s Third Amended Original Petition at 8-11. Plaintiff sues Great Northern for damages,

including actual damages, punitive damages, reasonable attorney’s fees, court costs, pre-judgment

interest, post-judgment interest, and any other and further damages at law or in equity to which it

may show itself to be justly entitled. See Plaintiff’s Third Amended Original at 8-14.

        5.     Plaintiff is a Texas resident. See Plaintiff’s Third Amended Original Petition at 2.

Great Northern is an Indiana corporation with its principal place of business in New Jersey. The

Construction Defendants have been improperly joined and their citizenship should be disregarded


DEFENDANT GREAT NORTHERN INSURANCE COMPANY’S NOTICE OF REMOVAL                              Page 2
       Case 7:15-cv-00465 Document 1 Filed in TXSD on 11/06/15 Page 3 of 7



for the purposes of determining diversity jurisdiction. Thus, removal is proper because there is

complete diversity between the properly-named parties under 28 U.S.C. § 1332.

        6.      The proposition of ignoring improperly joined parties when considering jurisdiction

in the context of removal is well recognized. “Since the purpose of the improper joinder inquiry is

to determine whether or not the in-state defendant was properly joined, the focus of the inquiry must

be on the joinder, not the merits of plaintiff’s case.” Smallwood v. Ill.Cent. R.R. Co., 385 F.3d 568,

573 (5th Cir. 2004). The Fifth Circuit has expressly recognized improper joinder in cases of “(1)

actual fraud in the pleading of jurisdictional facts, or (2) inability of the plaintiff to establish a cause

of action against the non-diverse party in state court.” Id. Courts in this Circuit have recognized

the Fifth Circuit’s tacit approval of fraudulent misjoinder as a basis for removal. See Centaur’s

Unity v. Lexington Ins. Co., 766 F. Supp. 780, 789 (S.D. Tex. 2011) (noting the Fifth Circuit “has

acknowledged that fraudulent misjoinder of either defendants or plaintiffs is not permissible to

circumvent diversity jurisdiction”) (citing Benjamin Moore & Co., 318 F. 31 (5th Cir. 2002); Palos

v. Vick, SA-13-CV-805-XR, 2013 WL5740287, at *2 (W.D. Tex. Oct. 22, 2013); Nava v. One

Beacon Am. Ins. Co., EP-10-CV-478-KC, 2011 WL976506, at *2 (W.D. Tex. Mar. 15, 2011); Tex.

Instruments, Inc. v. Citigroup Global Mkts. Inc., 266 F.R.D. 143, 147 (S.D. Tex. 2010); Wells Fargo

Bank, N.A. v. Am. Gen. Life. Ins., 670 F. Supp. 2d 555, 562 (N.D. Tex. 2009). The principles of

fraudulent misjoinder prevent plaintiffs from improperly joining claims to avoid diversity

jurisdiction. See Struder v. State Farm Lloyds, 2013 U.S. Dist. LEXIS 183915, *10 (E.D. Tex. Dec.

18, 2013) (“Merely lumping diverse and non-diverse defendants together in an undifferentiated




DEFENDANT GREAT NORTHERN INSURANCE COMPANY’S NOTICE OF REMOVAL                                     Page 3
       Case 7:15-cv-00465 Document 1 Filed in TXSD on 11/06/15 Page 4 of 7



liability averments of a petition does not satisfy the requirement to state specific actionable conduct

against the non-diverse defendant.”) (citing Griggs v. State Farm Lloyds, 181 F.3d 694, 699 (5th Cir.

1999)).

          6.    Both federal and Texas law require “(1) ‘there is asserted against them jointly,

severally, or in the alternative, any right to relief in respect of or arising out of the same transaction,

occurrence, or series of transactions or occurrences’ and (2) ‘any question of law or fact common

to all defendants will arise in the action.’” Crockett v. R.J. Reynolds Tobacco Co., 436 F.3d 529,

533 (5th Cir. 2006) (quoting Fed. R. Civ. P 20(a) and citing Tex. R. Civ. P. 40(a)) (emphasis added).

 “If these requirements were not met, joinder was improper even if there was no fraudulent

joinder and the heirs could recover against each defendant.” Id. (emphasis added). As the Crockett

court observed, the diversity statute turns on the citizenship of properly joined parties rather than

“nonfraudulently joined” parties. Id. at 533 n 7 (citing 28 U.S.C. §1441(b): “A civil action

otherwise removable solely on the basis of the jurisdiction under [28 USCS § 1332(a)] may not be

removed if any of the parties in interest properly joined and served as defendants is a citizen of the

State in which such action is brought.” (emphasis added)).

          7.    Plaintiff’s claims against Great Northern for alleged wrongful denial of policy

benefits have no real connection to Plaintiff’s claims against the Construction Defendants arising

out of the demolition project. Plaintiff does not make claims against Great Northern jointly,

severally, or in the alternative, with any right to relief asserted against the Construction Defendants.

The causes of action alleged against Great Northern do not arise out of the same transaction,

occurrence, or series of transactions or occurrences as the claims made against the Construction

Defendants. The causes of action pleaded against Great Northern do not share any question of law


DEFENDANT GREAT NORTHERN INSURANCE COMPANY’S NOTICE OF REMOVAL                                    Page 4
         Case 7:15-cv-00465 Document 1 Filed in TXSD on 11/06/15 Page 5 of 7



or fact common to the claims made against the Construction Defendants. Accordingly, the Court

should disregard the Construction Defendants’ citizenship for purposes of determining diversity

jurisdiction.

         8.     Plaintiff asserts damages for actual, punitive, and exemplary damages in excess of

$75,000.00. Thus, the amount in controversy requirement of 28 U.S.C. § 1332(a) is satisfied.

         9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1441(a) because the state court

where the suit has been pending is located in this district and division.

         10.    In accordance with 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

served upon Great Northern in the state court action are attached to this notice. See Exhibit A.

         11.    Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this notice of removal

will promptly be given to all parties and to the clerk of the 389th District Court of Hidalgo County,

Texas.

         12.    Pursuant to Federal Rule of Civil Procedure 38, Great Northern demands a trial by

jury.

                                              PRAYER

         WHEREFORE, PREMISES CONSIDERED, Great Northern respectfully gives notice that

this state court action has been removed and placed on this Court’s docket for further proceedings.

Great Northern further request any additional relief to which it may be justly entitled.




DEFENDANT GREAT NORTHERN INSURANCE COMPANY’S NOTICE OF REMOVAL                                 Page 5
      Case 7:15-cv-00465 Document 1 Filed in TXSD on 11/06/15 Page 6 of 7



                                          Respectfully submitted,

                                          /s/ Jennifer G. Martin
                                          JENNIFER G. MARTIN
                                            Texas State Bar No. 00794233
                                            S.D. Tex. Bar No. 20770

                                          SCHELL COOLEY LLP
                                          15455 Dallas Parkway, Suite 550
                                          Addison, Texas 75001
                                          (214) 665-2000
                                          (214) 754-0060 – Fax
                                          Email: jmartin@schellcooley.com
                                          ATTORNEYS FOR GREAT NORTHERN
                                          INSURANCE COMPANY




DEFENDANT GREAT NORTHERN INSURANCE COMPANY’S NOTICE OF REMOVAL             Page 6
      Case 7:15-cv-00465 Document 1 Filed in TXSD on 11/06/15 Page 7 of 7



                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been forwarded
to the following counsel of record in accordance with the Federal Rules of Civil Procedure, on this
the 6th day of November, 2015:

Jesus Ramirez
Email: ramirezbook@gmail.com
Robert Schell
Email: robert_schell@hotmail.com
The J. Ramirez Law Firm
Attorneys at Law
Ebony Park, Suite B
700 North Veterans Boulevard
San Juan, Texas 78589

Spencer Edwards
Email: sedwards@hudgins-law.com
The Hudgins Law Firm
A Professional Corporation
24 Greenway Plaza, Suite 2000
Houston, Texas 77046

David P. Benjamin
Email: dbenjamin@benlawsa.com
Benjamin, Vana, Martinez & Biggs, LLP
2161 NW Military Highway, Suite 111
San Antonio, Texas 78213

Matthew B. Cano
Email: mbc@aaplaw.com
S.W. “Whitney” May
Email: swm@aaplaw.com
Allensworth and Porter, L.L.P.
100 Congress Avenue, Suite 700
Austin, Texas 78701


                                              /s/ Jennifer G. Martin
                                              Jennifer G. Martin




DEFENDANT GREAT NORTHERN INSURANCE COMPANY’S NOTICE OF REMOVAL                             Page 7
